    Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 1 of 9. PageID #: 16561




                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                )       Case No. 1:17-MD-2804
OPIATE LITIGATION                          )
                                           )       JUDGE POLSTER
                                           )
This filing relates to:                    )
Case No. 1:18-op-45682                     )

       PLAINTIFF COMMONWEALTH OF KENTUCKY’S SUBMISSION OF
       ADDITIONAL AUTHORITY IN SUPPORT OF MOTION TO REMAND

       Pursuant to this Court’s June 28, 2018 Order Regarding Remand Briefing, Doc.

677,1 the Commonwealth of Kentucky, plaintiff in Commonwealth of Kentucky, ex rel. Andy

Beshear, Attorney General v. McKesson Corp., Case No. 1:18-op-45682, submits additional

authority in support of its pending Motion to Remand this case to state court for want of

federal jurisdiction. Recent decisions by the United States District Courts for both the

District of Delaware and the District of New Mexico, in highly similar cases brought by

States against distributors of prescription opioids, reject precisely the arguments for

federal jurisdiction raised by McKesson here and reaffirm that these cases do not belong

in federal court, but rather must be returned to state court. See New Mexico, ex rel. Balderas,

Attorney General, v. Purdue Pharma L.P., Case No. 1:18-cv-00386-JCH-KBM, 2018 WL

2943246 (D.N.M. June 12, 2018); Delaware, ex rel. Denn, Attorney General of Delaware v.



1Unless otherwise noted, all references to “Doc. __” are to the master docket in In re:
National Prescription Opiate Litig., Case No. 1:17-MD-2804 (DAP) (N.D. Ohio). The
Court’s Order Regarding Remand Briefing is also filed as Doc. 23 in the individual case
docket for Commonwealth of Kentucky, ex rel. Andy Beshear, Attorney General v. McKesson
Corp., Case No. 1:18-op-45682.
   Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 2 of 9. PageID #: 16562



Purdue Pharma L.P., et al., 1:18–383–RGA, 2018 WL 1942363 (D. Del. Apr. 25, 2018). Both

the New Mexico and Delaware rulings concur with the reasoning of the earlier decision

by the Southern District of West Virginia in West Virginia ex rel. Morrisey v. McKesson

Corp., No. 16-1772, 2017 WL 357307 (S.D.W. Va. Jan. 24, 2017), on which the

Commonwealth relied in its earlier briefing on this issue.

       Both the Delaware and New Mexico rulings began by articulating the legal

standard for this motion. “Only state-court actions that originally could have been filed

in federal court may be removed to federal court by the defendant.” Denn, 2018 WL

1942363, at *1 (internal quotations and citation omitted). “Federal question jurisdiction is

governed by the well-pleaded complaint rule, which provides that federal jurisdiction

exists only when a federal question is presented on the face of the plaintiff’s properly

pleaded complaint.” Id. at *2. Additionally, the Court addressed the Substantial Federal

Question standard by stating,

              Alternatively, some state law claims can implicate federal
       jurisdiction when they “implicate significant federal issues.” Grable & Sons
       Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005). These cases
       are exemplary and constitute a “special and small category” of federal
       question jurisdiction. Empire Healthchoice Assurance, Inc. v. McVeigh, 547 U.S.
       677, 699 (2006). To determine whether a state-law claim implicates federal
       question jurisdiction, “the question is, does a state-law claim necessarily
       raise a stated federal issue, actually disputed and substantial, which a
       federal forum may entertain without disturbing any congressionally
       approved balance of federal and state judicial responsibilities.” Grable &
       Sons Metal Prods., 545 U.S. at 314. But, “the mere presence of a federal issue
       in a state cause of action does not automatically confer federal-question
       jurisdiction.” Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 813 (1986).

Id.; see also Balderas, 2018 WL 2943246, at *3.



                                                  2
    Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 3 of 9. PageID #: 16563



       The New Mexico court then proceeded to reject McKesson’s contention that the

plaintiffs’ complaints arise directly under federal law because certain counts “facially

plead[] a federal cause of action” by including allegations of violations of the federal CSA,

the same argument McKesson makes here.2 The Balderas court correctly recognized that

the State had only asserted claims arising under state law. As the New Mexico ruling

explained: “Plaintiff’s Complaint does not allege a federal cause of action under the

FCSA—nor could it have because the FCSA provides no federal cause of action.” 2018

WL 2943246, at *4. Here, too, the Commonwealth asserts only causes of action arising

under Kentucky statutory and common law.

       Both courts then turned to McKesson’s argument that federal jurisdiction existed

under the four-part Grable test. Each ruled that McKesson’s argument failed three

separate prongs of that test, finding that the federal issue identified by McKesson was

neither “necessarily raised,” nor “substantial,” nor could it be resolved in federal court

“without disrupting the federal-state balance approved by Congress.” See Denn, 2018 WL

1942363, at *2-*5; Balderas, 2018 WL 2943246, at *5-*6.

       First, each court found that the federal issue of whether McKesson violated its

obligations under the federal CSA was not “necessarily raised.” The Delaware court

reasoned:




2
 McKesson apparently did not make this argument for federal jurisdiction in the
Delaware case: “Because there is no dispute that Plaintiff’s claims arise under state law,
McKesson must show that a federal issue is (1) necessarily raised, (2) actually disputed,
(3) substantial, and (4) capable of resolution without disrupting the federal-state balance
approved by Congress.” 2018 WL 1942363, at *2 (citing Grable; emphasis added)
                                             3
   Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 4 of 9. PageID #: 16564



       Although a determination of whether Defendants violated the FCSA may
       occur while addressing Plaintiff’s claims, there is also the possibility that
       the claims will be resolved without resolution of the federal issue at all.
       Based on the complaint, it is possible for the state law claims to be resolved
       solely under state law. Although the complaint addresses some duties or
       requirements under the FCSA, the complaint also lists several other duties
       and standards that arise solely under state statutory or common law.

2018 WL 1942363, at *2 (citation omitted). In particular, the Delaware court concluded

that the State could prevail on its Delaware Consumer Fraud Act claim based on alleged

misrepresentations “unrelated to federal law,” on its public nuisance claim “by showing

Defendants violated the Delaware Controlled Substances Act,” and on its negligence

claim by showing conduct that fell below standards of care that did not reference federal

law. Id. at *3.

       The New Mexico court engaged in an identical analysis:

       [C]ontrary to McKesson’s claim that Plaintiff can prevail only by showing
       that Defendants violated the FCSA, it appears that Plaintiff could show that
       Defendants violated state law duties to control, report and guard against
       the diversion of prescription drug orders, meaning that the federal statute
       is not necessarily raised. While a determination of a duty and violation of
       that duty under the FCSA will likely occur in examining Plaintiff’s claims,
       so also will examination of New Mexico common law, statutes, and
       promulgated rules to determine Defendants’ duty, if any, to prevent
       “diversion” of prescription drugs into illicit channels. . . . New Mexico state
       law provides alternate theories for a finding of liability against McKesson
       and its codefendants because the Complaint implicates numerous alleged
       duties under state law. Thus, as in Merrell Dow, the Complaint refers to the
       FCSA, its regulations, and the DEA letters as “available criter[ia] for
       determining whether” Defendants are liable, but their liability, if any, does
       not hinge exclusively on federal law, as McKesson argues.

2018 WL 2943246, at *6 (citation omitted).

       The same analysis applies to the pending motion. The Commonwealth’s complaint

specifically alleges alternative state law bases for the duties McKesson violated. For

                                             4
   Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 5 of 9. PageID #: 16565



example, paragraph 112 of the Complaint alleges that the Kentucky Controlled

Substances Act, as well as the federal statute, “create[s] a broad duty on the part of

wholesalers to monitor, detect, investigate, refuse to fill, and report suspicious orders of

prescription opioids.” Complaint, ¶112 (citing state statutes and regulations). Similarly,

paragraph 136 alleges that 201 KAR 2:105 § 7 “expressly prohibits distributors [of opioids]

from operating in a manner that endangers the public [health].” Id. ¶136. Because

McKesson may be found liable on the Commonwealth’s claims based on alternate

theories that do not require violations of federal law, no federal issue is “necessarily

raised” under the first prong of the Grable test.

       Turning to the third prong, both the Delaware and New Mexico courts found that

the federal issue identified by McKesson was not “substantial” enough to justify federal

jurisdiction. As Denn explained:

       Federal issues must be significant “to the federal system as a whole.” “[I]t
       is not enough that the federal issue be significant to the particular parties in
       the immediate suit.” . . . The determination of whether Defendants violated
       the FCSA is not substantial to the government as a whole. Most
       importantly, the parties do not seek to interpret the FCSA such that it affects
       the manner in which the government operates. . . . Rather, the federal issues
       in this case will be substantial only to the parties. The outcome will not
       necessarily be dispositive of Plaintiff’s claims and will not be controlling in
       any other case, as it will involve a factual determination relating to
       Defendants’ conduct.

2018 WL 1942363, at *4 (quoting Gunn v. Minton, 568 U.S. 251, 260, 264 (2013)). The

Balderas court concurred, 2018 WL 2943246, at *6, adding that the fact that “Plaintiff’s

claims will be ‘fact-bound and situation-specific’ and do not readily present a pure issue

of law which federal adjudication could resolve ‘once and for all,’” as well as “‘the


                                              5
   Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 6 of 9. PageID #: 16566



absence of a private right of action’ under the FCSA” were additional factors that

weighed against a finding of substantiality. Id. McKesson’s alleged violations of the

federal CSA were insufficiently substantial to support federal jurisdiction under Grable

in both New Mexico and Delaware, and are equally insufficient to support federal

jurisdiction in this case.

       Finally, both the Delaware and New Mexico courts ruled that upholding federal

jurisdiction over the removed actions would “disrupt the federal-state balance approved

by Congress.” As Denn explained:

              In this case, the federal issues are merely elements of state common
       law claims. . . . Here, much like Merrell Dow, entertaining “garden variety”
       state law tort claims resting on federal statutory violations, such as
       negligence and fraud, could lead to a flood of state law claims entering
       federal courts and could disturb congressional intent regarding federal
       question jurisdiction in § 1331. Considering this potential threat to the
       structural division of labor between state and federal courts, in addition to
       the absence of a federal cause of action, it is “improbable that the Congress
       ... would have meant to welcome any state-law tort case implicating federal
       law” merely because the federal statutes create standards of care or
       elements to causes of action under state law. Thus, the Court cannot
       entertain Plaintiff’s state law claims without disturbing the congressionally-
       approved division of labor between federal and state courts.

2018 WL 1942363, at *5 (quoting Grable, 545 U.S. at 319; citation omitted); See also Balderas,

2018 WL 2943246, at *6 (quoting and following reasoning in Denn). That same reasoning

is directly, and equally, applicable to the present case.

       Thus, at least three separate United States District Courts have expressly and

unanimously rejected McKesson’s arguments that federal jurisdiction exists over

lawsuits brought by State governments against opioid distributors that include

allegations that defendants violated the federal CSA but assert only claims arising under

                                              6
   Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 7 of 9. PageID #: 16567



state law. Balderas, 2018 WL 2943246; Denn, 2018 WL 1942363; Morrisey, 2017 WL 357307.

And each ordered the case before it remanded to state court. Id. For the same reasons, as

well as those in the Commonwealth’s memoranda in support of its Motion to Remand,

the Commonwealth of Kentucky urges this Court to grant its remand motion and return

this case to state circuit court where it properly belongs.

July 9, 2018                               Respectfully submitted,


                                          ANDY BESHEAR
                                          ATTORNEY GENERAL

                                          By:       _/s/ Linda Singer_______________
                                                    Linda Singer

                                                    LeeAnne Applegate
                                                    Elizabeth U. Natter
                                                    Charles W. Rowland
                                                    Assistant Attorneys General
                                                    Office of Consumer Protection
                                                    OFFICE OF THE ATTORNEY GENERAL
                                                    1024 Capital Center Drive, Suite 200
                                                    Frankfort, Kentucky 40601
                                                    (502) 696-5300
                                                    (502) 573-573-8317 FAX
                                                    LeeAnne.Applegate@ky.gov
                                                    Elizabeth.Natter@ky.gov
                                                    Charlie.Rowland@ky.gov

                                                    Wesley W. Duke
                                                    C. David Johnstone
                                                    Brian C. Thomas
                                                    Assistant Attorneys General
                                                    Office of Medicaid Fraud and Abuse
                                                    OFFICE OF THE ATTORNEY GENERAL
                                                    1024 Capital Center Drive, Suite 200
                                                    Frankfort, Kentucky 40601
                                                    (502) 696-5300
                                                    (502) 573-8316 FAX
                                                    Wesley.Duke@ky.gov
                                                    David.Johnstone@ky.gov

                                                7
Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 8 of 9. PageID #: 16568



                                        Brian.Thomas@ky.gov

                                        Linda Singer *
                                        Elizabeth Smith*
                                        MOTLEY RICE LLC
                                        401 9th Street NW, Suite 1001
                                        Washington, DC 20004
                                        lsinger@motleyrice.com
                                        esmith@motleyrice.com
                                        Tel: (202) 232-5504
                                        Fax: (202) 386-9622

                                        James D. Young*
                                        Sarah A. Foster*
                                        MORGAN & MORGAN COMPLEX
                                        LITIGATION GROUP
                                        76 S. Laura St., Suite 1100
                                        Jacksonville, FL 32202
                                        jyoung@forthepeople.com
                                        sarahfoster@forthepeople.com
                                        Tel: (904) 398-2722

                                        W. Mark Lanier*
                                        Richard D. Meadow*
                                        Evan Janush*
                                        Reagan E. Bradford*
                                        THE LANIER LAW FIRM
                                        6810 FM 1960 West
                                        Houston, Texas 77069
                                        wml@LanierLawFirm.com
                                        Richard.Meadow@LanierLawFirm.com
                                        Reagan.Bradford@LanierLawFirm.com
                                        evan.janush@LanierLawFirm.com
                                        Tel: (713) 659-5200

                                        (*denotes counsel who will seek pro hac
                                        vice admission)

                                        Attorneys for Plaintiff the Commonwealth of
                                        Kentucky




                                    8
Case: 1:17-md-02804-DAP Doc #: 722 Filed: 07/09/18 9 of 9. PageID #: 16569




                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on this 9th day of July 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be

served upon counsel of record by, and may be obtained through, the Court CM/ECF

Systems.

                                                   /s/ Linda Singer
                                                   Linda Singer
                                                   Attorney for Plaintiffs
